Case 6:20-cv-00190-MC Document1-2 Filed 02/03/20 Page 1of2
CIVIL COVER SHEET

The JS 44 civil cover sheet and the information contained herein neither replace nor supplement the filing and service of pleadings or other papers as required by law, except as

JS 44. (Rev. 09/19)

provided by local rules of court. This form, approved by the Judicial Conference of the

purpose of initiating the civil docket sheet. (SEE INSTRUCTIONS ON NEXT PAGE OF THIS FORM.)

nited States in September (974, is required for the use of the Clerk of Court for the

I. (a) PLAINTIFFS

Kristine Johnson, John Doe C., John Doe J., Jane Doe K., and John Doe

S.,

(b) County of Residence of First Listed Plaintiff

Marion

DEFENDANTS

(EXCEPT IN U.S. PLAINTIFF CASES)

(c) Attorneys (Firm Name, Address, and Telephone Number}

William D. Brandt,

97302

494 State Street, Suite 300B, Salem, OR

NOTE:

Attorneys (if Known)

County of Residence of First Listed Defendant

Corporation of the President of The Church of Latter-Day Saints,

N/A

(IN US. PLAINTIFF CASES ONLY)

IN LAND CONDEMNATION CASES, USE THE LOCATION OF
THE TRACT OF LAND INVOLVED.

Stephen English, Cody Weston, and Nathan Morales of Perkins Coie
LLP, 1120 NW Couch Street, 10th Floor, Portland, OR 97209

Il. BASIS OF JURISDICTION (Place an "X" in One Box Only)

(For Diversity Cases Only}

IIL CITIZENSHIP OF PRINCIPAL PARTIES (Piace an °X” in One Box for Plaintiff

and One Box for Defendant)

O11 US, Government 3 Federal Question PTF DEF PTF DEF
Plaintiff (U.S. Government Nota Party) Citizen of This State (Xt © 1 Incorporated or Principal Place a4 a4
of Business In This State
O02 US. Government K4 Diversity Citizen of Another State M2 © 2 Incorporated aid Principal Place os cs
Defendant Cadicite Citizenship of Parties in Item HD of Business. In Another State
Citizen or Subject of a a3 O 3° Foreign Nation go6 O86
Foreign Country
IV. NATURE OF SUIT (Picee an "x" in One Box Only) Click here for; Nature of Suit Code Descriptions.
[& = CONTRAETE. : : : ‘ ORTS es &sFORFEITURE/PENALTY “BANKRUPTCY: “OTHER'STATUTES
0 [10 Insurance PERSONAL INJURY PERSONAL INJURY = |) 625 Drug Related Seizure (1 422 Appeal 28 USC 158 O 375 False Claims Act
© 120 Marine 310 Airplane O 365 Personal Injury - of Property 21 USC 881 | O) 423 Withdrawal O 376 Qui Tam 31 USC
© 130 Miller Act @ 315 Airplane Product Product Liability OF 690 Other 28 USC 157 3729%a))
0 140 Negotiable [nstrument Liability 1 367 Health Care/ 400 State Reapportionment
0 150 Recovery of Overpayment [J 320 Assault, Libel & Pharmaceutical PROPERTY: RIG i) O 410 Antitrust
& Enforcement of Judgment Slander Personal Injury OC $820 Copyrights © 430 Banks and Banking
O15! Medicare Act © 330 Federal Employers’ Product Liability (7 830 Patent 7 450 Commerce
C1 152 Recovery of Defaulted Liability CO 368 Asbestos Personal C7 835 Patent - Abbreviated 1 460 Deportation
Student Loans © 340 Marine Injury Product New Drug Application |) 470 Racketeer Influenced and
(Excludes Veterans) (7 345 Marine Product Liability C1 846 Trademark Corrupt Organizations
153 Recovery of Overpayment Liability PERSONAL PROPERTY [2:2:22055" LABOR: Te SOCIAL SEE TY] 0 480 Consumer Credit
of Veteran’s Benefits 0 350 Motor Vehicle C370 Other Fraud 0 7£0 Fair Labor Standards O 861 HIA (1395ff) (15 USC 1681 or 1692)
1 160 Stockholders’ Suits CO 355 Motor Vehicle O 371 Truth in Lending Act O 2862 Black Lung (923) 485 Telephone Consumer
0 190 Other Contract Product Liability ( 380 Other Personal 0 720 Labor/Management OF 863 DIWC/DIW W (405(z)) Protection Act
195 Contract Product Liability | @€ 360 Other Personal Property Damage Relations OC 864 SSID Title XVI OG 490 Cable/Sat TV
0 196 Franchise Injury 0 385 Property Damage 0 740 Railway Labor Act C1 865 RSI (405(4)) 0 850 Securities/Commodities/
1 362 Personal Injury - Product Liability C 751 Family and Medical Exchange
Medical Malpractice Leave Act © 890 Other Statutory Actions
[ce REAL PROPERTY. [8 2 CIVIL RIGHTS © PRISONER PETITIONS }0 790 Other Labor Litization co FEDERAL TAX:SUITS [C1 891 Agricultural Acts

0 210 Land Condemnation

(1 220 Foreclosure

230 Rent Lease & Ejectment
(J 240 Torts to Land

( 245 Tort Product Liability
0 290 All Other Real Property

O 440 Other Civil Rights
O 441 Voting

O 442 Employment

1 443 Housing/

Habeas Corpus:
© 463 Alien Detainee
O $10 Motions to Vacate
Sentence

Accommodations O 530 General

OF 445 Amer, w/Disabilities - | 535 Death Penalty
Employment Other;

O 446 Amer, w/Disabilities - 340 Mandamus & Other
Other 550 Civil Rights

555 Prison Condition

560 Civil Detainee -
Conditions of
Confinement

ag
0
OC 448 Education qa
0

C1 791 Employee Retirement
Incame Security Act

a  IMMIGRATION® |

1 462 Naturalization Application
O 465 Other Immigration
Actions

O) 870 Taxes (U.S. Plaintiff
or Defendant)

© 871 [RS—Third Party
26 USC 7609

0 893 Environmental Matters

7 895 Freedom of Information
Act

1 896 Arhitratian

OC 899 Administrative Procedure
Act/Review or Appeal of
Agency Decision

G 950 Constitutionality of
State Statutes

V. ORIGIN (Place an “X" in One Box duly)

1 Original

Proceeding

(K2 Removed from
State Court

Remanded from o4

Appellate Court

Oo 3

Reinstated or © 5 Transferred trom © 6 Multidistrict O 8 Multidistrict
Reopened Another District Litigation - Litigation -
(specify) Transfer Direct File

VI. CAUSE OF ACTION

28 U.S.C. section 1446 and 28

Cite the U.S. Civil Statute under which you are filing (Do. not cite jurisdictional statutes unless diversity):
S.C. section 1332(a)

Brief description of cause:

Interference with Prospective Economic Advantage, Breach of Fiduciary Duty, and Negligence

VIT. REQUESTED IN (3 CHECK IF THIS [S A CLASS ACTION DEMAND & CHECK YES only if demanded in complaint:
COMPLAINT: UNDER RULE 23, F.R.Cv.P. 9,540,000.00 JURY DEMAND: WYes ONo
Vill. RELATED CASE(S)
(See instructions):
IF ANY een tEVODGE DOCKET NUMBER
DATE SIGNATURE OF ATTORNEY OF RECORD
02/03/2020 s/ Nathan R. Morales
FOR OFFICE USE ONLY

RECEIPT #

AMOUNT

APPLYING IFP

JUDGE

MAG, JUDGE

Case 6:20-cv-00190-MC Document1-2 Filed 02/03/20 Page 2 of 2

JS 44 Reverse (Rev. 09/19)

INSTRUCTIONS FOR ATTORNEYS COMPLETING CIVIL COVER SHEET FORM JS 44
Authority For Civil Cover Sheet

The JS 44 civil cover sheet and the information contained herein neither replaces nor supplements the filings and service of pleading or other papers as
required by law, except as provided by local rules of court. This form, approved by the Judicial Conference of the United States in September 1974, is
required for the use of the Clerk of Court for the purpose of initiating the civil docket sheet. Consequently, a civil cover sheet is submitted to the Clerk of
Court for each civil complaint filed. The attorney filing a case should complete the form as follaws:

L(a)

(b)

(c)

IL,

Hl.

IV.

VI.

VIL.

VI.

Plaintiffs-Defendants. Enter names (last, first, middle initial) of plaintiff and defendant. If the plaintiff or defendant is a government agency, use
only the full name or standard abbreviations. If the plaintiff or defendant is an official within a government agency, identity first the agency and
then the official, giving both name and title,

County of Residence. For each civil case filed, except U.S. plaintiff cases, enter the name of the county where the first listed plaintiff resides at the
time of filing. In U.S. plaintiff cases, enter the name of the county in which the first listed defendant resides at the time of filing, (NOTE: [a Jand
condemnation cases, the county of residence of the "defendant" is the location of the tract of land involved.)

Attorneys. Enter the firm name, address, telephone number, and attorney of record. If there are several. attorneys, list them on an attachment, noting
in this section "(see attachment)".

Jurisdiction. The basis of jurisdiction is set forth under Rule 8(a), F.R.Cv.P., which requires that jurisdictions be shown in pleadings. Place an "X"
in one of the boxes. If there is more than one basis of jurisdiction, precedence is given in the order shown below.

United States plaintiff. (1) Jurisdiction based on 28 U.S.C. 1345 and 1348. Suits by agencies and officers of the United States are included here.
United States defendant. (2) When the plaintiff is suing the United States, its officers or agencies, place an "X" in this box.

Federal question. (3) This refers to suits under 28 U.S.C. 1331, where jurisdiction arises under the Constitution of the United States, an amendment
to the Constitution, an act of Congress or a treaty of the United States. In cases where the U.S. is a party, the U.S. plaintiff or defendant cade takes
precedence, and box [ or 2 should be marked.

Diversity of citizenship. (4) This refers to suits under 28 U.S.C. 1332, where parties are citizens of different states. When Box 4 is checked, the
citizenship of the different parties must be checked. (See Section II below; NOTE: federal question actions take precedence over diversity

cases.)

Residence (citizenship) of Principal Parties. This section of the JS 44 is to be completed if diversity of citizenship was indicated above, Mark this
section for each principal party.

Nature of Suit. Place an '"X" in the appropriate box. If there are multiple nature of suit codes associated with the case, pick the nature of suit code
that is most applicable. Click here for: Nature of Suit Cade Descriptions.

Origin. Place an "X" in one of the seven boxes.

Original Proceedings. (1) Cases which originate in the United States district courts.

Removed from State Court. (2) Proceedings initiated in state courts may be removed to the district courts under Title 28 U.S.C., Section 1441.
Remanded from Appellate Court. (3) Check this box for cases remanded to the district court for further action, Use the date of remand as the filing
date.

Reinstated or Reopened. (4) Check this box for cases reinstated or reopened in the district court. Use the reopening date as the filing date.
Transferred from Another District. (5) For cases transferred under Title 28 U.S.C. Section 1404(a). Do not use this for within district transfers or
multidistrict litigation transfers,

Multidistrict Litigation — Transfer. (6) Check this box when a multidistrict case is transferred into the district under authority of Title 28 U.S.C.
Section 1407.

Multidistrict Litigation — Direct File. (8) Check this box when a multidistrict case is filed in the same district as the Master MDL docket.
PLEASE NOTE THAT THERE IS NOT AN ORIGIN CODE 7, Origin Code 7 was used for historical records and is no longer relevant due to
changes in statue.

Cause of Action. Report the civil statute directly related to the cause of action and give a brief description of the cause. Do not cite jurisdictional
statutes unless diversity. Example: U.S. Civil Statute: 47 USC 553 Brief Description: Unauthorized reception of cable service

Requested in Complaint. Class Action. Place an "X" in this box if you are filing a class action under Rule 23, F.R.Cv.P.
Demand. In this space enter the actual dollar amount being demanded or indicate other demand, such as a preliminary injunction.
Jury Demand. Check the appropriate box to indicate whether or not a jury is being demanded.

Related Cases. This section of the JS 44 is used to reference related pending cases, if any. If there are related pending cases, insert the docket
numbers and the corresponding judge names for such cases.

Date and Attorney Signature. Date and sign the civil cover sheet.
